Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 1 of 37

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_ `DECISION!()R..DER
-t.\};'t;zinnsth
time PrOc/wt~c
d O(LV\WG\ SMWS Def`endant.
- ~-- X
m emc/wo PYP€W®
d

THE DECISION/OR`DER on defendant’s motion to vacate a Det`anlt Judgment and restore the
case to the calendar is granted on consent to the following extent

The default Judgment is vacated An

y restraints, liens and executions are vacated T.he proposed
Answer is deemed served end filed.

The caseis gett(_g_(§ por§.t)€!_§d to twa MQQ<M_Q,@\ gtequme afb EMMM..Q\'.

Thi$ constitutes the decision and order of the courtl

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F’age 1

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Filed 08/18/17 Page 2 of 37 v
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(003"'[¢)\ gl W€$.i‘ igq“` 5:131{“\&€; f settlement
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t _ Defendant. z
\.i Ofli’\no. S{lY\i“t)?a § m mg
""""""""""""""""""""""""""""""""""""" x t w § §§
. “'$ o ‘u `
IT rs HER.EBY BTIPULRTED that the above entitled matter is settled upon t:h§§>r§§ié§ co mm
following terms and conoitions: sane c ; md
1. ours norton is seamen ns sotnows: ,t. iii {» §§?
Defendant will pay to Plaintiff in full settlement of chi1 _i;‘:'? 533
matter the sums set forth as follows: h i, th
a} $ i§' .. ctc be paid on or before the __L§_ day of §
_O(m£i,)\,{ __“____W, 23le ; and &W.,.....-»#-

tit $ [~_.,“'“g.¢c) to be paid monthly thereafter on or before the
_Z:;E)`i_‘_‘“ day of each such successive month commencing as of the ‘2_§*"3 day of

_* 201&7, such monthly payments to continue until $__l_h__a_§`QQ.O§§
has been paid in full.

2. M.J. required payments shall be made payable and mailed tc _
Kgou\\chrhssocmi¢s. PC ss attorneys tex the slaintiff, at lr;aw\Lcw used naaoctexes FC»
A.J.l payments received are subject to collection. __ ‘\E'\ W¢SW\“E;SO¥:WWV¢

. - g“?, on od\ ¢\*{W'\cx'f\"i-. l ' serv owes-nw N ¢t>s‘:=rg
iv tmwdc' &\£':w idl-q_ 3. Providec?that the Defendent is not in default of the q
Pa;.nuent requirements set forth above, Plaintiff shall accept the sums set

forth in paragraph one {l) above in full settlement of its claim against said
Defendant and

d. Defendant consents to jurisdiction of this court s anyfall
counterclaims brought by defendant are discontinued with prejudice

5. In the event that the Defendant shall default in making ani,r
of the payments required hereunder, then Plaint.iff shall mail written notice,

via regular mail, of any such default to the Defendant at the address listed
helow. lf any such default shall remain uncutod for ten {lO} days from the
mailing of such notic\e, then PJ.aii'it;.‘LEf may enter judgment for the amount sued
for in the summons and complaint, plus interest, costs and disbursements as

permitted by law, less a Cr'ed_i_t upon execution, for any payments paid
hereunder.

6c Upon receipt and clearance of final paymeut:, Plaintiff will
issue a stipulation of discontinuance.

Dat;ed: 0`|2-8'1 \"p MXO,S

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Case 1:16-0\/- 02134- ALC Document 86- 43 Filed 08/18/17 Page 3 of 37
C`ivil C ourt ofthe City of New Ymk lnd<:x # C.‘V-048231»»10/NY x
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608~614 WESE 189121'1 StI`EElT. LlC
Plaintif£(e) _ .
-sgalssv;* Declsmn f Oldcr

Jemmil sponte; Joanna Santos
Defendant(e}

 

R.ccilelion, ss required by C.PLR 2219(a), of the papers considered in the review of this motion:

Pz\ptrs Numbcred
Order 10 show Causef Notite of Motion and
Afi'ldavils fix f‘firrnations annexed
Answering Af`f`ldsvite" AHlmiations
Reply Af`f“rdnvits! Aff`:rmalisns _
Memoranda of Law
Other

Upon the foregoing cited pepers, thc Decisionf Order on the (motion f order to show oause) is

(grsnteci fdenied) for the following resson(s):

 

 

 

 

 

 

 

 

 

 

 

 

 

Detc: Judge of the Civil Court

 

Civ-GP-BS

Page 3

 

Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 4 of 37

 

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To restore case to the cslchdar, and vacate
any judgment liens and income executions
on this defendant on this 111ch numl)cr,
allow proposed answer or dismissing the
action

Jemeil hpcn:e.., et el.

 

UPDN the annexed ailidsvit of lornn.iil Apontc sworn lo on May 25, 2016, and upon all papers and proceedings
hercin:

Lei the Cla.irnmn(s)f[’lsimifi{s) or C laimsni(s)/Plsiniiil(s) citomey(s) show cause st _,_,_ '
111 Ccntrc Strcct, Ncw `ldork1 NY 10013 ILE FUNAVA\LABLE
Part 34 » SR.L Proc Motions, Room 325 gov
on Scpl'emher 23, 2016 319:30 AM
or as soon thereafter as counsel maybe hcard, why an order should hot bc msde:

VACA'I`ING the Judgm.cnt, and all income executions and restraining noliccs, il" ahy, restoring the case to the
csicndsr, allow proposed answer or dismissing thc action if v-.*err:£mtcdl and/or granting such and further relief as
may be just

PENIJ}`.NG the hearing of this Ordcr to Show Ceuse and the entry of an C)rder thereon, let all proceedings oh the
part of the CIaimanI(s)/Piaintii:l'"(s), Clsimsnt(s)/Plaintil”l"(s) atlorney(s) and agcnl(s) and any Mershal or Shcrili"ol`
the Cily of New Yorlc for thc enforcement oi" said .ludgment be slayed.

SERVICE of a copy oi` this Clrdcr to Show Cause, and annexed Ailidsvil, upon thc:

Claiment(s)!l’lainliff(s) or named attorney(s): Sherifl` or Marshsl:
(ludgc to lnilial) (Judg,c io Inilial)
by Pcrsonal Strvicc by" 111 Hand Dclivcry" by Pcrsonel Servicc by " In Hand Dclivciy"

 

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on or b¢f.;.r¢ s q / l _/ ib , shall bc deemed good and sufficient

PRDDF OF SUCH SERVICE may be filed with the Clerk in thc Fsrl
indicated nhch on lbo return date oflhis Ordcr to Show Causc.

Mail to Attorncy or psrly: Msrslml or Shcriff:
Kavullch & AS$GGlalCS PC (COUHSE] for Pllf], ill 181 M£\r§haf Oftl]e Cify Of`NeW Ym-k
Westchcster Avenuc, Suitc SDOC, Por‘t Cheslel', NY 10573 none

none NY DGOOO

May 25, 2016 %

DA'l"E. `.'a A. ollM `1l Couli Judgc (NYC.)
HGN. l.lSA SOKDLOFF

 

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Case 1:16-0-\/- 02134- ALC Document 86- 43 Filed 08/18/17 Page 5 of 37

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{5151-611 WEE .. li‘:-Eii'_.'tl E>"Ct,'tetz.ll littj.

_a"a 1 nw Ai`l`ldavit in support oi`an order to show cause
j ~ . '“ ` z 1 . -1, .'.1. l .
L§~Enmi]_ A_rlmnc,@‘ _ _ art a 1 ' 10 t't?t\iOl‘t. Ltt.‘?»e 10 titc'tsaltsttdttt‘, VttC£th t'm)‘ l
ltttdg\ment,, liens and income executions on this
defendant on this Indcx numbcr,
allow proposed answer or dismissing the action

 

Statc of Ne\v Yorlc` Co111tty oi“ Ncw Yorl:;
demmii Aponte,being duly sworn, deposes and says:

( efendants tntnals)
1 c a) l am the Parry named as (Del`enda.nt)(Respondcnt) in the above titled action

ill 1 have been served with a summons and complaint in this action. [NOT.E: it`Small Claims skip #-3, and go to # 41
l have not been servctl, and my lirst notice oi" legal action was [NOTE: if you complete any oi#lb.
ship #;5, #4, #5, and go tc 1161
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a Restraining Noticc on my bank account
zim-§§ a copy oian lttcotnc iixccution served on
Other:

 

 

 

 

Other:

 

 

m,..m ' ' ' etween claimant/plaintift`and defendant.

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5. My reason for not
complying with the stipulation` ts
following the order ofthc Co‘ ‘
appearing in court ont te scheduled for trial is
Other.

 

 

 

 

 

 

 

7, M_q;)l have not had a previous Ctrder to Show Causc regarding this index number.
) I have had a previous Order to Show Cattsc regarding this index number but I am making this application
becausc:

 

B_ § i£: lrequest that thc Judg,ment be vacated that the case be restored to the calendar, and permission to serve these
papers in person.

Sworn to before me this day:

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\\l M'D i/"Q‘ €/ rare ]gn amc \~rz' {3 Jcmmil Aponte

Signattne ot‘ Court limplcyee and Title 3 Gl¢““'o°d AW
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Yonkers, NY 10101-2240

Page 5

 

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`r" - ‘

 

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Suite S{JUC

Pc)n Chssler, NY 10573

:-emmil Apon!;F_-; Joanna Sam:os
Defsm?ia:xc (s)

 

State ot`New York, Cc»unty of New York:

I, J(!mmi! Apnnte, am the Defclldant' in this action. AS my answer 10 the allegation(s) made in the Cnmplaint, f Of"f`¢r the
following

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‘i'onkers, NY 10701~2240

 

Smle of New Yurlc, County of ‘ H_ss:

.Jemmil Aponte, being duly swum, deposes and ssys: I am the Dcf`c:ndant in this proceeding I have re d I
the contents thereof lo be true to my own knowledge except as to those matters stated on information n
believe them to he true. .'

  
      

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Case 1:16-cv-02134-ALC Documem 86-43 Filed 03/18/17 Page 7 of 37

 

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anyjudgmcnt, ltcns and income execnttons
en this defendant on this lndc,~t nnmhcr,
allow proposed answer or dismissing thc
action

 

UPDN the annexed affidavit ot` .lenn'nil Aponte, sworn to on lit/las1 25, 20l6, and upon all _r.)apcr.s and proceedings
herein!
f et the Ciaimant(s)/Plaintiii(s) ot Claimtmt(s)!l’iaintil"`i(s) attolney{s) show cause at: _` _`__. _. ' ‘
ill Ccntrc Street, New Yot lt, NY 10013 K§E;§ §;§NMWM§“'
Part 34 » SRL `Proe Motions, l{oom 325
on Septernber 23, 2016 at 9:30 AM
or as soon thereafter as counsel may be heard, why an order should not he made:

 

VACATING the iudgment, and all income executions and restraining notices, it`any, restoringl the case to the
calendar_. allow proposed answer or dismissing the action ii` warrantcd_. and!ot' granting such and further relief as
may he just

PENDING the hearing Of`ii'li$ Ol'der 10 Show Cattsc and the entry oi`nn Order thereon, it:.t ali proceedings 011 the
part ol" the Clain"lant(s)r‘i"‘laintii`l`(s), Claintant(s)/i’laintiii`(s] attorney(s) and agcnt(`s) and any Marshal or Sherii`i` ot"
the City oi"l\lcw Yorl{ for the enforcement oi` said .Indgrnent he stayed

SERVICE ofa copy of this C)rder to Show Canse, and annexed At"i`tdavit, noon the:

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PR()OF {)F $UCH SERVICE may he filed with the Clcrk in the Part
indicated above on the return date ofthis Ol'der to Slto‘w Cnuse.

Mtt.il to Att'orney or party: Mnl'shal or Sheril`i`; i

 

 

Page 8

Kavu|ieh 152 Asseciates PC? (Cettnsel for Plt'i`l. at 181 Ma.rg,hal 01` the Ciry Q[-`N¢W YU[[.;
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Case 1:16-cv-02134-ALC Document 86-43
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Filed 08/18/17 Page 9 of 37

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!§'_{,11‘, iris-st id§ ‘ ' discern Li.t:

_ 313 a pa Ali`idavit in support ot`an ordcrto show cruise
adam 1 noonan air al to restore case to the ealendan vacate any

judgrnent, liens and income executions on this
defendant on this index number',

allow proposed answer or dismissing the action
State of New Yorlt. Connty ot"New ank;

Jernmil Aponte,heing duly sworn, deposes and says:

{Defendtmt‘rt initials)

 

 

 

 

 

 

 

 

 

   
 
 
     

 

 

.i. “ a) l am the Party named as (Det`endant){Respondent) in the above titled action
1- al 1 have bCEIl $€Wed with a Sun”rtnons and complaint in this r.rction. [NOTE: if'$ruall Clairns skip tt.`S, and go to # 41
l have not been served, and rny first notice ot` legal action was tNOTE: tryon recapture any 01`#211,
skip #3. 1114,11511 and ge to #6]
a Notiee et` Default Judp,rnant mailed to me
a Restra.ining Notice on my bank account
§§ a copy efan lucerne Execution served on
Other:
3._ a) l did not appear and answer in the C.|erl»;'s Oit`tee heeause:|NO't`tt: it'yoa complete 11 311, strip and go 1a 1161
_.--"""'"'r-H-
h) l did not appear and answer in;l;:TiQQL-ld§(§t’iice
and l received a date f
but the answeMi§:'red late
Other:
4. On the Date of`TriaI before .ludge/Arhitrator__# --
```````` m a stipulation(a written agreemen ' ' etween claimant/plaintiff and defendantl
mw dddddd ajudgluent was entered a ,
WW& a judgment was en nat rue by default t"or ray fat|ure to appear
Otlrer r
5. My reason f"or not "“"""`

 

complying with the stipulation' is
following the order of tl\e Co
appearing in court on 1
C|thcr:

 

 

 

5. d)§iL l allege that l have a good defense bc¢ause: gill a ‘lJl'Ok(“”{/\

7. a I have riot had a previous Order to Show Catrse regarding this index number,

) l have had a previous Order to Show Catrse regarding this index number but I run making this application
because:

 

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l request that the judgment be vacated, that the case be restoer to the calendar, and permission to serve these
papers in person

 

 

 

 

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Swom to before me this day:
May 25. 201 (
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1 Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 10 of 37

 

    
 

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JQmmi; Apon:e; Joannm EaRKQB

 

Stmc of New York, Councy of Ncw York:

11 Jcm“\il APD"¢E, 11111 the Dcf`cndan\ 1`111|115 action. /‘\s 111yalr1:;wcr 111 the allegation(::) made in the Cornplaint, I offer 1116
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Date: 05!25/1016 * dot

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Yonkcrs, NY 10701“2240

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Cli f", and as 10 those matters I

 
    

Jemmil Apunle, being duly swor\n, deposes and says: l1mtf1e Defcndanl 111 this proceeding lhave re cl t
the contean lhcrcot”to be ime to my mem knowledge except 15 m those matters stated on inf`mmation n

believe them to bc true.

 

Def` 1dant
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Page 10

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* DECISION/ORDER
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5 \j 0 cmi/m §611"’1+’:3°3
Q’LMM gp Dofondant.

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THE DEC!SION/ORDER on dofondant’s motion to vacate the default judgment and restore the
case to the calendar is granted on consent to the following mont

_ _ rig w De.&.mdc:~m-l goavw\.:x §M\wg
'I'ho dofa_ult Judgmont 15 vacatodf‘m'ly rostraints, liens and executions aro vacated Tho proposod
Answor 15 doomed served and EIocL

The cas%is rostm‘ed_to the Part I§/J oalondar, in room 325 at 9:30AM, for conferencc, to be hold
on l m §\ L§ 201

This oonstituto$ the decision and ondor oftho oourL

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Page 13

Case 1:1_€5-cv102134-ALC Document 86-43 Filed 08/18/17 Page 14 of 37
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608-614 west 1891:1‘1 St)':eet Llc
Plaint_i.t`f{s} .' ' .-
_against_ ])eusron / ()rder
Jerruni..`i. Aporrte: Joar\rra Sarrtos

Defendant(e)

 

Reeitation, as required by CP{.,R 2219(&), of the papers considered in the review oi"lhis lrrolion:

Papers Numbered
Order to show Ceusef Notice of Molion amd
Af"f`ldavits /Aff`rrmmions annexed
Answering Af`i'rdrlvits/ Al}'u‘mmions
Reply Af’f'rdavilsi Af`f“:rrnations
Memorarrda of haw
Other

Uporr ‘lhe foregoing Cited papers, the Deeisiorl/ Order on the (rrrotion / order to show oen$e`} is

(granted /denied) for the following reason(s):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date: lodge of the Civil Court

Civ-GP-B$

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Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 15 of 37

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i_`,-"'J¢mmi‘]_ AQQ“W. _ _ at al _ To restore cone to the cnlendnr. end vacate

nny‘_iudgnlent, liens end income executions
on this defendant on this |ndcx ntlmhcr,
allow pro;)oeed answer or di_\nnissing, the
ection

 

UI’ON the onne~<ed oi”i`tdavit ol` Jonnnn Snntos_ sworn to on (1ctol)er 711 , 2015 nncl upon eli papers end proceedings
hercin:

Let the Cleimnnt(s.)/'Pleinti11`(:;) or Cininnint(n)/I’lninti11`{`5;) ritterney(e) eliow cause n.t:
111 Centrc Street, l\'ew Yor'|t, NY 10013
I’nrt 34 - SRL `l’roe Motions, Rooin 325
on Novemher 13, 21115:\1'9:30 AM
or as noon thereafter eis counsel may be heard1 why nn order should not he rnndc:

VACATING the .l ndg,,nient1 end oil income executions and restraining notiee:-i, it` eny, restoring the eeoc to the
celencinr, allow proposed answer or dismissing the notion il` \.rnrrnntod_k end/or granting such end i"nrther relief ns
may be just.

PEND!NG the hearing ol`this Order to Show Conse end the entry oi"nn (`_)rder tiiercon, ict eli proceedings on the
perl ol` the Cleimnnt(s)/Pleintif`i`(s), C`.lairnnnt(s`)/Pltlintif`i`(e`) nltorney(:s) end zigenl($) end nny l\v'lnrsl‘iel or Sherii"t"oi`
the City oi`New Yorl< 1`or the enforcement o|;` said Jndginen't be einyed.

SII.ILVI.C`IB of`e copy oi`this Order to Show Ceose, end annexed Ai’i`\dnvit, upon the:

Clniment(S)/Plnintit`i`(s} or named ettorney($`): Sherii`i`or Mershel:
(Judge to iniiirii) t_'.ludge to initini)

by Pe ona| Serviee by " In i-Iend Delivery" b Pernonni Service by " [n liend I.`)eliver_v"
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en or before / atty/02d ?’_// `l , Slm|| be deemed good end soli`icienl

PROOF OF SUC[‘I SERVICE may he filed with the Clerlt in the l*nl't
indicated above on the return dale Of` this Order to Show Cnuse.

 

 

 

Mni! in Aiiorney or perty: Mnrshnl or Sher'iff:
i<'.:.wuiich dr Associates PC (Connsei for l"lt'i`), at 1111 l\/lerehel oi` the (_".it§r ol`New Yori<.
Westeheeter Avenue Suite SOOC, Port Chester, N'r' 105?3 `Bicgel Stephen, Marshel

109W 513 ii cei

october 21, 2015 . ;>/§_

DA"i`t'-Z l`-Ion. l_`)ebni |{ose Snmnels Civil Coort lodge (NYC)
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.'t oi`the C.`itv oi`i‘~iew Yorl~;, Count}l oi`i\icw ‘1’orlt hmw 111 (;_-V”Mgz;;lm] U/N Y
“"4 wEM' J.”E`BEh S':'w"‘c“'t Llc _ Ailidavit in support ol`an order lo show cause
wm AD;):E:J"I:‘“?"‘(;E all to restore case to tiie‘caiendar, vacate any l
,, ` d ' judgn`tcnt', liens and income executions on this
rf defendant on this index number_.
f allow proposed answer or dismissing the action

4°¢

,;'° Statc ol blew Yorl~;, Cotmt)' oi New Yorit:
Joanna Santos being du ly sworn deposes and says

® (i§r.‘i`cnt.i:
@ 3) 1 \’e been served with a summons and complaint in this action. [N()'t`l£: ii$rnatl Clnims skip #3, and go to 114|
have not been scm'ed, and my iirst notice oi"iegai action was [l\i(`)'l`li: it‘yon complete any ot'#lb,

skip #3, #4, #S, a d go to #(i|

raining l\toticc on my bank account t »- '
copy oi`an income Execution served on MMF /§l»(..) /3)€'1€'§_8
Otiicr:

 

 
   

"$ initials]
am the Pn rt'_v named as (Del`cndant) in lite above titled action

   
  

  
     
   
  
 

 

 

 

 

 

   

a stipulation(a written agreement) was n ' ant/piaintir`i' and dchndant.
a judgment was entered alter tire triai.
a judgment was entered against me by della

Othcr:

lit.lrc to appear.

 

 

5. ivly reason i`or not
complying with the s '

 

 

 

 

 

 

 

 

 

 

l"o|lowing, the or oi` the Court ls w
appearin ourt on tire date scheduled i`or trial 15
Other.'
6. laiie ret hat l have a good defame_p bccarpe: lt f
\.-f? spirit r' _.¢F_`\ l-~D
____________________________ 11;1-_1 rt a._.-... ..Er.'?: ..."°'F`. -. r\_#-'§"“ir-%--~~

 

 

@}._ 5 )C-'-')' have not had a previous Order to Simw Ca\. se regarding this 11 eat n'tlntbcr.
b) bi have had a previous C)rder to Show Cause regarding this index number but l am making this application
beeat ‘

 

    
  

 

_`~§:§_“_ request that the .ludgment be vacated, that the case be restored to the caicndar, and permission to serve these
papers in person

`~'mp|oyee and 'iil|¢

Sworn to before inc this day:

 

 

Sig,naturc oi`i.'.‘ou

  

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Ncw Yol'lt, NY |0040-¢12`24

Page 16

 

 

 

_,/‘ CaS€ lilG-CV-02134-AL

                                                                                         

 

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FBJQmmi]. ApOt`ti$E,' JOELI‘ma 531-1th De!i'ml'rmt 1111111‘\'1.1‘<~'¢!!¢11111'11."11 t'o,ny11[11'111',41111'111':'m:
peg nefen,jant {B) i<avu|ieit tila Assoeintes PC {(.Tounsel l`or
rt ` ran
in 181 Westc|tester Aventte
Suite SOOC

Port C‘ltester, NY l(i."'i'i3

 

‘_-`»tate ot'i~le\v York, Cottnty ot" New Yori<:
L .ioanna Snutos, ant the i')ei`endant in this action. As my answer to the ttiiegntiou(s) made in the Contpinilil, l Oii"‘#‘r ii“'~`

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C\. \" 0 Cli_\-t i:'_'. \i lot {I..') ill 1'111:1.\_ 1 \"`\ e»?*""\'
vn`tt;-t`\f£v.\ '
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3. Countereieitn: 5 _H Reeson:

 

Date: 1012]1'2015

    

 

ignature of Det`entiant in person

.ioanna Santos, s1ding at 620 West 13911151, Apt 2 l`-`, New
‘t'orit, N`t' 10040~4224

\ Vl~`¢Rii`-`]§`,A|"|§!N
State ot`New Yorit.County of MM _U_£’_{s:d

`\

Joanna Sautes being daly sworn deposes ¢ nd says: l am the Det`endant tn this proceeding l have read the Answer tn i"erson and know
the contents thereot`to beirne to my own knowledge except as to those matters stated on inform
believe them to lie true

and belief and as to those matters i

 
 
  

-M~m_.-, ----- _..1“»_ ------ ,.,

i`Jei`endant

 

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initial Caientiar i.')ate; _m
Betlt Sides Notified: __m

 

 

Page 17

 

C`ivil Cottrt oi`the C,`ity oi`Ne\v York int'ie:tr ii CV-ii‘~iHZ.‘ii~itl/NY

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608-614 West IBch Etreet Lle

 

-aqainst;~ lilaimiff{s} _ _ Deeision/Order
Jemmil aponee; Joanna SBMOH DcntalNo Appearanec iviovant
Defoneiant:(s) fagg z ip MAH__/__ zL
W,er't'ed 63 J]J’l "'d‘

Recitation, as required by CPLR 2219(11), of the papers considered in the review of this to‘tion:
Papers t\ittmhered

Order to show Caasc! Netiee ot" Motion and
Ail’idavits /Af’tirmations annexed

Ans\vering At`tidavits/ Aitinnations
RepiyAi`tidavitsr' Ai`tirmations

Mernoranda of Law

Other

Upon the foregoing cited papers, the Decisionf(')rder on the Motion is as foilows:
The motion is denied by reason oi` the nonappearance of the movarn. Ali stays are ii't`ted.

'l`he forgoing shall constitute the Deeision and Ctrder oi` the Cout't.

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Februar_v 3, 2016 Hon. Anthony Cannataro
Civii Court Jttdge (`NYC)

       

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Page 18

 

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I.)ecision l Order'

 

Plaintiff{ai

Jentmi.l nponte: Joanna Sent:os

Defendant(si

 

Recitation, as required by CPLR 2219(a)_, o't` the papers considered in the review of this motion:

i’apers Numi:»ered
Order to show Cltmse/ Notice ot` Motion and
At’i"tdavits fAi"tinnations annexed
Answering AtTidevitsf Af’iinnstions
Repiy Afi'tdavits/ At"iirmations
Memoranda of i_,aw
Otiter

Upon the foregoing cited papers, the Decision/ Order on the (motion / order to show eause) is

(granteci /denicd) fertile following reason(s):

 

 

 

 

 

 

 

 

 

 

 

Date:

   

  

 

lodge of the Civ.ii Court

 

Civ-GP-BS

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Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 20 of 37

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` index i\tonibcr: CV-ii-'iSZBI-iii/NY
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_aqai“$t_ vi (']i{i)i'i`.R 'I`(.) SI'i(]W CAUSE
Jemmil APQDE¢' _ _ et al_ le restore ease to the eatendar, and vacate
any_]'t.tdgment. liens and income executions
on this defendant on this index number,
allow proposed answer or dismissing the
action

 

 

 

 

 

 

Ui*()i‘~i the annexed affidavit ot`.iemniii r\ponte. sworn to on Oetoi)er 2 i, 20i 5, and upon all papers and
proceedings herein:

Le.t the Ciaimant(s)fi’laintii"t"(s) or Ciaimant(s)/Plaintii"i`(s) nttorney(s) show cause at:
ill Centre Stireet, New Yorlc, NY 10013
Part 34 - SRL i’roc Motions, I{oom 325
en No'vemher 13, 2015 at 9:30 AM
or as soon thereafter as counsel may he heard, why an order should riot be made:

VACA'I`ING the Judgmcnt, and all income executions and restraining netiees, it"any, restoring the case to the
eaiendar, allow proposed answer or dismissing the action ii`warranted, anci!or granting such and further relief as
may be just_

i’ENi)iNG the hearing oi` this Order to Siiow Cause and the entry ol` an Order thereon. let ali g_)roeeedings on the
part of the Clain"iant(s`)/Piaintiii`(_s), C`laititant(s)i'i’laintii"f(s} attorney(s) and agent(s) and any l\'iarshai or Siierii`l`oi`
the City ot` New Yorit for the enforcement oi` said .Iudgment be stayed.

SERVIC[", ofa copy ofthis Ordcr to Sliow Cause, and annexed Aii`idavit, upon tlie:

Ciainiant(s)/Piaintit`i`(s) or named altoi'ney(s): Sherit`f or Marsliai:
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by P serial Service by " In l~iand iJeiivcry" l l’crsonal Service by " in l-iand i.`)eliveiy"

   
 

 

  

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on or before /€/§` :;///I/ . shall be deemed good and siitt`icient

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indicated above nn tiie return date ol` this Oi~der to Show Catise.

Maii to Attorney or pariy: Marshal or Slierifi`:
i<.avuiich de Associates F'C (`Counsel for i’ltl), at iBl Marshal oi"the C`ity oi`l;\iew `Yori<;
We§tehcster Aveuue, Suite 500€, Port Chcsler, NY l0573 Bi¢ge]' graph¢n’ MarSi-m\

109 W 33th Street

   

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october 21 , se 1 s \ f J“UDG_E. CtVIL COURT
DATE i'iom Rose Samueis. Civil Cotirt .ii,tdge (NYC)

Page 20

 

 

Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 21 of 37

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ina w?:;a:::i':}-` SCHEE Llc f\li'ttiavit in support oi`att order lo show cause .
Mmil Aponce v eL all to restore case to thc calentiar. vacate atty
jttt`iglttettt. liens and income executions on this
tieient'lattt on this index nunthet"
j allow pro|‘iosed t-tnswet‘ or dismissing lite action

r"` Stttte ot` New Yorlt, County ol`New `~t'ork:
Jetnntii Aponte,being duly sworn, deposes and says:

    
 

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(i)el“endt
w l ant tlte Party named as (Dei"endant) in the above titled action

@ =t) i i -e been served with a stnntnons and complaint in this aetion. [N()”l`i~§: il`Stnall Ctaitns strip nJ, and go to ii 41
l 23 have not been served, and tny i`trst notice ol` legal action was [NDTE: lfyott complete any titllzti.

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estraining Notice on tny bank account w § zé#&/ '
a copy oi`an income Exeetttion served on MC“»~' 657 MM lig _é'/£'
Other;

 

   
      
      
     
   

but the answer was ente
C)ther:

 

4. On the Datc ol`Tt ial before .lttdgef/-'trbitrator
a stipulation(a written agreetncnt) was
a judgment was entered alter th
a judgment was entered s t me by default l`ot my failure to t

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ying with the stipulation is

 

following the order ot`t|te C,`ourt is
appearing in court on the date scheduled t'or trial is
Gther:

 

 

 

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6 __-hl& -. have not had a previous C.)rtler to F.iitow (_`,ause regarding this index ntnnber.
` b) i have d a previous Order to Show Ceuse regarding this index number but i arn limiting this application

 

 

 

 

 

 

 

3. § l g l quest that the liu»:lgrnertt be seated that the case br. restored to tltt. calendar and permission to serve these
apers in person.
........................ t’+`
Sworn to before ute this day: '
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(Sign Nume] V '
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w ld)£tgnttturc bl` ourt Etnployeeart lite SCdcntvood ve
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't'onkers, NY iOYOi-IIMO

Page 21

 

 

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.,."" P‘§Mmff {5, AN:,wLR 111 1»1~.111-;0~
-against“ - ANI`) VI?.RIF`|C,'\"I`I(JN
Je“m"i]‘ APG“EE'. J¢a'nna SBHEDB l'-"¢‘_'fo.’lrr-|'IHHM‘1'!¢!1‘{.1“¢.‘¢.!1'0‘mrcr:'crc'.')jl_\'r.gflhn`-|H.\'w¢'r.'o`
Defendant; (5) Knvu|ich & Assncialcs I’C (C`uunscl fc)r“
PIH`)
|B | Wc:;!chcslcr Avunuc
Suilc 500{.'

Pol'l Ch¢:sler. NY 10573

 

Slalc Qf`NCw Yol'k, County oi`New Yorl-c:

l Jcmmil A[mmt: am the Dci`endm‘ll m this actim‘l. A:-; my answer 10 the zl||cga!ion(s) 111£1€1¢ m the Cmmpl:\inl l ()i"l`cc‘ the
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__ Gcnec‘nl Denial

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3. Coumerclaim: 53 "_ Reasun:

 

  

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Date: lOfl]/ZUIS
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Ynnkcrs, NY lomb-2240

51alc of`Ncw Ym'k. Cc)uuty nf`Al£(/U_“ `_UM

.lcmmll Aponte, being duly swum, dep c:s and says: l am the De|"endant in this proceeding l have read 111 Answer in Pcrscm and know
thc contcnls therec>f`u;\ be true 10 my own kno\~¢'lec|g,c except as to chose multch stated on in{`c)r 1 11 a l jiic¢`, and as 10 image lyman-5 1
believe them to bc truc.

 

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mary Pub\ic J'Cc)

 

For Coun Usc On|y
Initial Calcndnr Dmc: v
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COUN'!`Y OF NEW YORK
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Piaintii"t`, iNDE . \. x
landano 12752 @‘@5»¢33@-
2016
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SUMMONS
Place of Venue is l‘laintiff’s
place ofj` business
Jemmil Aponte, Joanna Santos,
603~610 west isa"‘ seas
New York, NY 10040
Defendant(s)

________________________________________________________ x
'l`o the above named defendant(s):

YOU ARE i-'IEREBY SUMMONED to appear at the CIVII; COURT OF 'l`i»l.E CITY OF` `NEW
YORK, COUNTY OF NEW YORK at the office ot` the clerk ol` the said Court at l l l Ccnire
Street, New York, NY 10013, in the COUNTY QF NEW YORK, State of New York, Wi thin the
time provided by law as noted below and to tile an answer to the below complaint with the clerk:
upon your failure to answer, judgment will be taken against you for the sum oi` $9_.50 .OO W"
interest thereon from Deceinber 1, 2009 together with costs of this action.

Faa,ia,@

  
 

DATED: Septernher 1, 2010

 

By': Gary Kav'uiieh, Esq.,

\Kavulich de Assoeiates, I’.C.
SEP n f Zmn Attorney for lite Pi€tittiif"im
NEW YORK COUNTY 30 Chttrch Street, Suite 26
C|V"- cOURT New l{ochelle, `I\i '1" 10301
(914) 355-2074
Dei`endant’s Address:
Jernrnii Aponte Joanna Santos
33 Glenwood Avenue, Apt. 113 620 W. 189th Street, Apt. 21`<`
Yonkers, NY 10701»2240 New York, NY 10040-4224

Note: The law that provides that: (a) if the summons is served by its delivery to you personally
within the City ofNew York, you must appear and answer within "I`WF£NTY days ai"ter such
service; or (h) Ii` the summons is served by any means other than personal delivery to you within

the City ofNew York, you must appear and answer within Tl-Ilii'l`Y days after prooi`oi" service
thereof is filed with the Clerk of this Court.

Paga 23

 

Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 24 of 37

C()l\/ll’LAlN'l`

MMM Plaintii`f seeks to recover damages li'om defendant(s) l`or breach ol`a lease
agreement in the sum of $9,000.00 representing rental arrears t`or the months ot"Deeember, 2009
baianee of 3500.00; Jaml€\l‘y, 20l 0 through and including May, 2010 at the agreed monthly sum
0{$1,700-00 i"Ol‘ lite premises known as 608-610 West 189"' Street, /\pt. BA, New Yorlc, NY

l0040 together with costs and disbursements ol;` this action and l`or such other and further rellci`
as the court may deem just

 

Sli`,COND ACTION: l*laintil"l` seeks to recover damages l`roni the defendant in the sum o[`$ 0.00
representing damages together with costs and disbursements ol" this

action and for such other and
further relief as the Cou.rt may deem just.

'I`HIRD ACTION: Plaintit`l" seeks to recover damages from the defendant in the sum of 3500.00
representing reasonable attorneys fees together with costs and disbursements ol" this action

and
for such other further relief as the Court may deem just.

W`HEREFORE, Plaintit`f demandsjudgment (A) on the liirst Action, in the sum oi.`$9,000.00
plus interest from Decernber l, 2009 together with costs and disbursements ol` this action and l`or
such other and further relief as the Court may deem just (B) on the Second Action, in the sum of
$ 0.00 plus interest from Deccrnber 1,2009 together with costs and disbursements ot` action and

for such other and further relief as the Court may deem just, (C) on the 'l`hird Action, in the sum

of 5500.00 together with costs and disbursements ol` this action and i"or such other and further
relief as the Court may deem just.

The Plaintii"fin this action is NO'I` re uired to b l`e- s '- -
Con$umcr Affaim- q e 1 en ed by the New York City I)epartment of

F’age 24

Case 1:16-cv-O2134-ALC Document 86-43 Filed 08/18/17 Page 25 of 37

Ar~“rIoA\/lr or sent/tca
civic count or rita cnv or new rosa treat ua rises ma
county or new voss Filsd: t

Attomeys: Kavulich dr Associates, P.C.
Address: 30 Church St'reet, Suitc 26, New Rochelle, NY 10801 Filc No. 12752

susan m Was'r tsa ' " s'ntssr t.t,c,
VS.
JEMMIL APONTE_.
.IOANNA SANTOS,
State oi`New Yorlc Cou.nty ofNassau S$:
gordon ga Evans I.l, being duly sworn deposes and says:
Dcponent is nor a party hereio, is over itt years ofage. C)n depteniber 4, 201_“0“ at 2:30p.in.

At: 38 Glenwood Avenue. Ant. lt). Yonkerst NY 10701|-2;3£served the within Summons and Complaint
on: JEMMIL AFGNTE, Defcndant therin named

Iudividual By delivering a true copy of each to said recipient deponent knew the person

[] served to be the person described as said person therein
Corporation By delivering to and leaving with and that deponent knew the
f ] person so served and authorized to accept service on behalf of the Corporation

Suitable Age By delivering a true copy of each to a person of suitable age and discretion

Person Said premises is recipients [ ] actual place of business [] dwelling house within the
[] stata.

Af`fix,ing By affixing a true copy of each to the door cf said premises which is recipients

to Door { ] actual place of business [X] dwelling house (place ofabode) within the state
le

Mail Copy On §eptemher 7, 2010 deponent completed service under the last two sections by
[ --- ' ' ` ' 1 f`the Sumrnons and Complaint to the above address in a l‘f

Class rcrde ressed envelope marked “Personal and Couf"tdential" in an official
F ldEsE:y ~r

o exclusive care and custody of the United States Post Ufhce in the State
fw c
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oable, with due diligence to find the recipient or a person of suitable age
at:

fSeptember, 2010 at l2:00p.rn.
fScpteniber, 2010 at 2:30p.m.

Description A description of the Defeodant, or other person served on behalf of the Dcfendant
[] Sex,:'m Color of skin: Cclor cf iiair: Age: l~ieight: Weight:

Military Svce Dcpcnent asked person spoken tc whether the recipient was presently in military
f X ] service cftho limited States Government or ofthe State of blow York and was
informed that the recipient is pp_t, Reclpient wore civilian clothes and no military uniform
Ot.her
[X]"Jane Doe” neighbor stated that the De adam is not in the military

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' Asto t ansll
y ‘ / LIC# 1220069

r fmi- _‘.*.~1\ f;`»-:.WMN__,
cwa t/.ttw.
r.r,,,)ra.,r

.['.a 713 oin.»facdrHrd» page 25
rLua-._w'm artware-jim §_,;.‘f{l__/F l

  
    

  
   

Sworn to bet`o

Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 26 of 37

l AFP`lDAVIT OF SERVICE
CIVIL COUR'].` ()F Tl'll`:`. Cl'l"f OF NEW YORK

lndexN ,48231/10
COUN'[`Y OF Nl`_*`,W YOR.K 0

Filed:

Attorneys: Kavulich & Associates. P.C.
Address: 30 Church Street, Suite 26, New Rochellc, NY 10801 li`ile No. 12752

sos-s 14 wesr iss‘ “ ernest LLc,
vs.
.ll£MMl L APON"l`l?i,
JOANNA SANTDS,
State oFNcw Yorlt C`ounty' oi`Nassau SS:
)_\_ston §i. Evans ll, being duly sworn deposes and says:
Deponent is not a party herein, is over 18 years ot`age. On $enternber <1. 2010 at 1:39n,n1.

At: 620 W. 189“‘ Str et t. ZF ew Yurk NY ` 4 4224 served the within Summons and Complalnt
on: JOANNA SANTOS, Dcf`cndant t'herin named

individual By delivering a true copy ci` each to said recipient: deponent knew the person
{] served to be the person described as said person therein.
Corporation By delivering to and leaving with umw and that deponent knew the
[ ] person so served and authorized to accept service on behalf ot' the Ccrporation
Suitable nga By delivering a tme copy of each to a person of suitable age and discretion
Persort Said premises is recipients [ ] actual place cf business [] dwelling house within the
[] state.

Afiixing By affixing a true copy ol` each to the door of said premises, which is recipients
to Door [ ] actual place of business [X] dwelling house (place ofabode) within the state

iX]

Mail Copy On Se tember 7 2010 deponent completed service under the last two sections by
l .___,...,=,-F=.=.-....=.-_“=er=.= _|i fthe Sumn'tons and Cornplairtt to the above address in a lll

Class re adiressed envelope marked “Personal and Conlident'ial" in an official
FMZE r e exclusive care and custody of the t_lnited States Post Office in the State

was nable1 with due diligence to find the recipient or a person of suitable age
and - iscre§b%ihn?§i?g:lclgd the nat:

NEW YORK CUUN Y
CNIL@I!¢R‘Z da ol`Septeniber, 2010 at I:48p.m.

On the 3"1 day t` September, 2010 at 12:45p.m.

` ' lemifj fSeptember, 2010 at l:39p.m.

 

   
   
 
  

  
  
    

|] Sox:_ Color oi`skin: Color of Hair: Age: Height: Weip,ht:

 

Mi.litary Svce Deponent asked person spoken to whether the recipient was presently in military
[ X } service of`d\e Urtited Si.ates Govcmment or ofthc State ochw Yorit and was

informed that the recipient is got Recipicnt wore civilian clothes and no military uniform
Other

[X]".lane Doe” neighbor stated that the De ndant is not in the military.

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Aston ,r. 'van
LiC# 1220069

 

 

Page 26

 

 

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\,_)URT OF THE Cl"l"r’ OF NIIW Y(`)Ri'{
m»`-¥ OF NEW YORK

------------------------------------------------------ INDEXNO. 48231;10
J-GI-l Wc:sc 13ch Sc.ree::, Ll_C..

I`"lLE N(`_`). 12752.()
Pl.,NNTIFF(S) JUDGMENT

~AGA[NST~

Jcmmil Apomc d manna Samos
608-610 W<:sl lS‘)th Slrm_»t
Nc:w York, NY 10040

 

DEFEN DANT(_S)

AMOUNT cLMMz'-;D LESS PMTS ON Ac:c:T. 39,000‘00

1‘NT13REST FRC)M lan/2009 5431;15
59,433.75

COSTS BY STATUTE. 550`00

SER\/ICE ¢;)F SUMMQNS mm COMPLNNT $25_00

FlL.rNG mr sLJMMONS AND comm/mw $45.00

PRGSPECTWE MARSHALL’S r-“EE 540_00

NO'¢"!CE oF mQuES“I‘ sam

TRANSCRIPT 35 D<;)CKET:NG $0.00

"I`O'I`AL 59,643.?5
sTATE or~‘ NEW YC)RK, couNTY 01'= wEsTcHEsTER:
wm uNDERslGNED, A‘FTORNEY AT LAW OF mri S'I'ATE c:)r-* NEw Yc)m<, c)N oF TI-IE
M'TORNEY(S) c)F RECORD FOR TI-u§. \Pl.AlN"rrr=c-(s) m THE ABQVE. ENTH‘LL=.D Ac‘now,
STATES THAT THF, mSBuRSEMENTS ABQVE sPEcIFIEr) HAVE maxim cm ; \
TH.ERE;N AND ARE REASONAB:\.E m AMOUNT: upon FAlLuRE Tc) A / _
AND ANSWF,R HERElN HAS Exmm£n AND THE mm DEFl;-:NDAN'I* 1- jj
rule STATUTE or-‘ lerrATIoNs ms Nc;)'r E><lvuu;r:). ‘1‘1413 uNDER_*¢L=f 1
THE PENALTIES c)F PERJURY_
DMED~. wEsTCHF.STER., NY » -- , \
10/25/2010 K\Av@'i',lcm @. ATES P.C. UCT ’? 8 9EJH]
BY; GARY KAvuLlC , ESQ, ”“ ”'

 
 
 
 
 
 

    

 

 

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JLJDGMENT ENTERED cm NE:w 110¢1\~1131;1“}3, mr losm “ " W;W W?;}WMW
SERWCE OF SUMMONS AND commle m THls Ac'l‘lc)N ON me DEFENDANT{::) Ci\ FL CUL»WT

HEREm imva BEEN COMPLE‘I“ED nw 10/1 9/2010 wmle THE cm' oF NEW Yoru~: ON 'I'HAT mv ANI) MC)RE THAN 20
DAYS

HAVIJNG ELAPSED.

BY FII.,!NG ON SAID DAY DF PR(_`JOF OI-` 'I"HE SERVICE. THEREOF B'!" SUlBSTE“|`UED SERVICE DN D[:`,F[-“.NDANT(S`}
AND MORE TI'JAN 30 DAYS umle ELAPSED mch TH:~; DAY oF comi>LE‘rloN oF SERvIcr-: mm '1"1-113 'I'IME c)F smu
DE.FENDANT($) m APPEAR mm msng HAVING E)<HRED, ANr;)

NOW ON MUT|UN OF KAVUI_.ICH & ASSOC!ATES, P.C. ATTORNEY(S) FO[{ “i`l-ll`_-`, PLA[NT[FF(S) l'[* 151 ADJUDGED T!_i-A-l~
603-614 west lamb Sm:er, LLC
RESII:)ING AT: 603-610 wesl 1an sum N¢w vark, NY 10040
R.ECC)VER DF Jcmmil Aponte, .loanna Santos . | `{
RESII:);NG AT: 33 elmwood Avcm.e Apr. 11:) Yonk¢rs, NY 10701-2240 * F € mm' *°‘f’¢'~“‘ “

»620 w. lamb street Apt. 21= New vork, NY 10040.4224 ~ j v g .u ,¢ n §M+os

'1“HE sum oF sg,ooo_uowlTH lNTE'REST <:)F 5433.75 MAK!NG A TOTAL <;)F ss),=¢sz.v.~s_‘roce"rz-{ER wlTn $160_00 co:s"z‘s mm
mSBURSEMENTS, AMOUNT:NG m ALL m THE SUM' OF 59,643.75 AND THAT PL.AINTlFF HAVE ExEcuTloN ‘1`1-1§111;F0m;~;_
sEcc)ND AND man cAusEs OF Ac".x‘lor~: Aruz HEREBY wAlvF.):).

 

CLERK

F-‘age 27

 

Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 28 of 37

QOURT Ol`-` THE ClTY ()F Nlj-lW YOR.K
.J'N'|'Y GI`-‘ NEW YORK
603.61»1- Wcst 189111 SlreeL L.LC, m-
PLAINT|FF(S) AFI-`lDAV['l` UI`-` l`-`AC”I.`S
CONS'I`[‘!‘UT|'NG THE CI.AIM
THE Dl£[`-`AULT AND THE
AMOUNT DUE

AGA[NST

Jemmil Apontc, hanna Santc»s
DEFENDANT(S)

STATE OF NEW YORK COUN“I`Y OF WES'I`C}-lES'I`lER
SS: GARV KAVUL[CH, ESQ. }'IEREBY DEPOSES .AND SAYS UNDER ’f`l-'iE FE,NA L'l"lE.S OF PURJURY, TI'IAT DEPO`N[.".NT |.‘5 'l‘i"{l§'l
AT”[`ORNEY FOR THE PLAINTIFF(S) lN THE WlTI'le ACTION; TH|S ACT|ON WA$ COMMENCED BY SUBS`l`I`l'UED S[ERV|CE
OI" THE SUMMONS AND COMPLAU‘~]`{` UPON DEFENDANT(S) !\NFD 13 AN AC'{`|ON FOR RHN"!` DUE AND OW|NG 1"0¥{ (Af'“l`[ill
APPLICAT[O`N OF PAYMENT AND SECURI'E`Y l.`)EPOSIT)

Dccembcr, 2009 balance 01”$500.00

.l£lnuary, 2010 $1,700.00

February, 2010 SI ,'!00.00

March, 2010 $1,700.00

April, 2010 $l,700.00

May, 2010 01,700,00

AT THE AGRE.ED MON`I‘HLY RENTAL OF $1,700.00

AI_.L OTHER CAUS}:`.S OF AC'I`ION ARE I-{[“IR_EBY WAIVED AND DISPC'SED. AFTER A COMPLETE AND '!`l-lOROUGI-l
l'NVE`.STlGATION THE DEFENDANT 13 I"OUND NO'I` 'I`{J BE I`N Tl"l}“:`, MlL.ITARY AND RES|DES WITI'{IN THE Cl`l`Y DF `NI:`.W
Yolu<. RE,NT WAS No'r PAID BY AN‘Y nTz-IER sOuRCE. 1 MAKE THIS AI-l=mMATloN umw rNr-‘c;)RMATlc)N AND 01€1..121'-“, A
BEL!EF PREDICATED UPON CONVERSATIONS WITH MY CLIENT, MY lNVOLVHMENT IN THE FROCEED!`NCS AND RIF.AD[NCJ
THE FlLE lN THlS CASE.
SECOND ANU 'I`“HIRD C.AUSES DF AC'}`ION ARE l~Ii`.-`,REBY WAIVED. THE CAUSE OF ACT|ON lN THE WE'I`}--{|N MATTER.
ACCRUED IN THE STATE C)F NEW YORK WHERE THE STATU"[`E OF LIMl'I`AT I! S/,¢*""'\.\ONTRAC'|`, UPON WHlCl~l d`I‘!llf'f
ACTION IS EASED, IS SIX(G) YEARS. THE STATUTE OF LIMl'l"ATIDNS HAS ';/` ' lREl)

WHEREFORE DEPONENT DEMANDS JUDGMEN'I` AGAINST DEI"L. /` \‘ ' F()I "9,000.00Wi'1`}-l INTERE$'!` 1"‘ROM
12!1/2009 TO(_`}I_"`.THER WlTH COSTS AND DISBURSEMENTS OF THE AC‘ j

     
 
   
   
  

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Kr\vur,lcr»r 02 Ass/~;)é’WE-/s, P.c.
BY: GARY KA\/uucu, ESQ.

30 cri-auch sTREE,T, some 20
Nr£w Ro<:l»lr-;LLE, NY 10001

TO THE DEFENDANT(S): PLEASE`. TAKE NO"I`[CE THAT THE Wl’l`l-I[N 15 A TRUE COPY OF A JUDGMEN'I` MADE ANI)
ENTERED lN THE WITHIN ENT|TI.ED ACTION AND DULY` FILED IN THE OI"F[CE OF` THE CLERK OF THE C(`JUN'I` (_`JN

DATED: WESTC}“IES'!“ER, NY YOURS, ETC,,
10/26/2010 ATTGRNEYS FQR I>I.ArNTu=r-“
sTATE c:F Nl.~:w YORK, cOUNTY 00 ss:
BF.[NG DULY SWORN, DEPOSES AND SAYS; THAT DEPONENT 15 NOT A PARTY m THE AchoN, 15 ovER 10 \/EARS 01“-‘ AGL;
mm Rr-:szzs IN
THAT 001 DEPQNENT SERVED A TRUE CCJFY OF THE wl'r‘i‘ln~l JuDGMEN'r AND NO‘I‘!CE oF ENTRY 'm 211202‘

(EAC‘H OF] THE FOLLOWING NAMED DEFENDANT(S) A'I` THE ADDRESS(ES) lN`[`JlCATED (FOR EAC`H):

BY DEPUSITING SAME ENC`LOSED IN POSTPA!D PROFERL\’ ADDRESSED WRAFFER(S), IN -A POST OFFlC[-l» C\FFICML.

DEPOSI'I'ORY U`NDER THE EXCLUS|VE CAR_E AND CUSTODY OF THE U`NITED STATES POS'I`AL SERVICE WlTHIN NEW
YORK STATE.

SWORN TO BEFOR.E ME ON

Page 23

 

 

Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 29 of 37

Cl\’ll, COURT OF THE CIT"Y' OF NEW ‘¢"C!RK
COUNTY OF NE.W YORK
INDEX NO, 43231!!0

 

603-614 W\';S! H§‘?th Strc':ei, LLC,

PLAINTIFF(S) AFFIR.M,~'\'I`!ON OF
MA|LING OF ADDITIONAL
-AG,MNST~ NOT`}CE OF SUlT

Jcmmil Apc:mze, hanna Sanms

DEFENIJANT(S)

 

GARY KAVUL[CH, ESQ.,HEREHY AFF[RMS THE I"`Ul,l,OWING UNDER. THE FENM,TY C)F `PER.JURY,

l. f AM THE ATTORNEY FOR. THE PLA]NTIFF(S) I~IEREIN_

l T`l~i`E ABC)VE ENTITLED ACTIDN [S AGAINST A NATURAL PER$ON AND 15 BASED
UPON NO'N PA'YMENT QF A CONTRACTUAL C|BLIGATION.

x
3. ON 9/13!`2010,1 MAILED A CC|PHOF THE SUMMONS AND COMPL.AH‘~IT IN THE ABOVE ENTITLED ACTION BY DEPDSITING
THE ENVELOFE{S) l'N AN OFFICIAL DEPOS!TORY UNDER THE EXCLUS[VE CAR.E AND C'JUSTC)DY OF THE U.S. POSSTAL
SERVICE WITHW NEW YORK STAT'E. SAID MA]L[NG WAS BY l"IRS"]` CI..ASS MAIL lN A F‘OSTPAID ENVELOPIE{S), PROPERLY

ADDR.ESSED TO “I`}'fE. DEFENDANT(S), THE ENVELOPE(S) BORE. THE LEGEND
“PERSONAL &. CONFIDENTIAL" AND THE.RE WAS NO INDICATION ON THE OUTS|DE OF THE ENVELOPE(S) `l`l“lA“I` THE

COMMUNICAT]ON WAS FROM AN A'T"I`QRNEY DR CONCERNED AN ALLEGED DEBT. AT DEFENDANT(S):

x-LAS‘I“ KNOW]_`J ADI.`)RESS AT: Jemmil Aponte, 33 Gfenwuod Av¢:nue Apt. lD Yc»nl-;¢'.-rs, NY 10701*2240
jognm=»., ga n 405‘. 620 w. 10901 sum Apc. 2F Ne.w vorz<, NY 10040-4224

---~--PLACE OF EMPI_.OYMENT AT:
THE ENVELOPE BORE THE l..EGEND “PERSONAL ¢5`.: CONFIDENTIAL" AND `I`HERE

WAS NO INDICATION ON THE OUTSIDE OF THE ENVELOPE '[`l-M'I` THE
COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNED AN ALLEGED DEB"E`.

------A KNOWN ADDRESS OF THE DEFENDANT A'I`:
THIS ADDRESS 13 NOT THE R.ESIDENCE OR. PLACE OF EMPLOYMENT ClF THE DEFENDANT_

 
  
 

THE AFGREMENTIQNED MAIL[NG;
>"<~-HA§€NOT BEEN RETURNED uNr)ELl\/ERABLE BY Pos“rAL sErwIcE.

-~--~WAS RETURNED UNDEL]VERABLE BY PC)STAL SERVICE AND WAS ' DEFEN!)ANT AT:

 

GARY KAvu cH, ESQ.

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LJRT OF ‘l"l'ili. Cl`I"iJr Ol"` NEW ‘r'ORK
g .. Y OF NEW ‘z’()[{.k"

_ .......................................................................... x motz-1a No;
I-'ll\,E `r\lO: |2'!52.0
603~014 Weat 18ch Street, LLC.‘, Pt..nlN'l‘tFt-',
-Acatnsr- AFFlaMa‘t'ton ot-‘ 1‘=~a<::'1"s
CONST|Tl_l'l`lNG THE
assess saatt>s,lemmtt Aponte, i)at-“snoan'ns) amount oue
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©Mien 3['¢,/€11 age

hereté;;l'époses and says under the penalties ot` perjury, ss:

That deponent is the managing agent of 608~6]4 West 18ch Street, LLC, Piaintift`in the within aetion; this aetion was
commenced by substituted service ol` the summons and complaint upon defendant(s) and is an action for breach of a
lease agreement in the amount of $9,000`00 ii`or the months Decetnber, 2009 balance ol` $500.00;.`lanuary, 2010 through
and including l\flay, 2010 at the agreed monthly rental amount of $1,700.00 per month (af`ter application ot` security and
after application ot` payments) no part having been paid, although duly demanded and Damages in the amount ol`
$0.00. All other causes ot` action are hereby waived and disposed of`. At’ter a complete and thorough investigation, as l
have been informed by Plaintifl" ' s counsel, the defendant(s) isfare found not to be in the militai"y and reside(s) in the
City of New York. Rent was not paid by any other source. l make this affirmation upon personal Knowledge.

WHEREFOR.E, Flaintifi" demands judgment against defendant for $9,000.00 with interest From Deeecnber l, 2000
together with coats and disbursements of the action.

Datcd: 10/261'201 0

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' WKAVUUCH
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eastman edna
‘ alcoattlsslon Etha£Sustn/tttt:t
_,W _"-“_"-"‘_'_*M_p'm_nu_"-“

 

Page 30

 

Sworn to he t'

y Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17

ClVlL COURT OF THE ClTY OF NEW YORK.

COUNTY C'l"` NEW YORK
............................................................. x
608~614 West 13ch Street l LL`
lndex l“~lo. 4823 l/l0
l’ile No_ 12752.0
Plaintil`l",
-Hs'dinat- M£tll
lNVEIS'l`lGA’l‘()R
.lemn\il Aponte, .loanna Santos
3025 llet`endant(s).
.- . ------- K

 

S'I`A"l`ld OF NEW YORK

COUN T\' Cll`-` WESTCl-i i_iST ER

l
)ss.:-soas
)

l am over 18 years oi" age, am not a party to this action and reside in Wcstcliestcr County1
Statc ol` New Yoi'lt.

I have been requested by Kavulich de ./\ssocintes, P.C. attorney t`or the Plaintil`i`, to make
an investigation to ascertain if thc Del'endant(s) Jctnmil Apttntc is at the present
time in military service l`cr the purpose ot' entry of judgment

On October 26, 20 lO1 ll Denise iit/liranria1 contacted lite Dei`cnsc manpower Date Center
concerning the Del`endant Jetntni| Aponte military status

l inputted the Del'endant‘s name and social security numbcr, as provided by the Def`endant hitnt'ltcrscll“, into the Dei`cnse

Manpowct' Data Ccnter.

Unt.lcr the l.`)el'cndant’s social security number l received an al"lidavit from the Defense
Manpowcr ['Jata Ccnter stating that the said Dei`cndant is not currently in the military

service ot';he l_lnitcd Statcs and the Statc of blew "r'orit ( tona;t:)_/

Denlse lvliranda

    

Dayo 010

 

Notdi'y Pubyé W

 

GARY K.AV[JLICl'I
NOTAR‘|' PUB LiC-STATE Ol" NEW YORK
NO:OZKAGZOSGIS
QUALlFlED l`N WES`|‘CHESTER C.`OUNTY
M'lr' COMM|SSK)N EXl-"IRES 015/l lfliii§

 

 

 

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f.-‘ Case 1:16-cv-02134-ALC Document 86-43 Filed 08/18/17 Page 32 of 37

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JcannaSantos c .SU“"'\"`\A §An~i¢.)s' MM"E
725'§' l`)cl"endant(s). f

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STATF. {.`ili NEW YORK

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count v or \v‘esrcass'rea ) ~

l am over 13 years et`age. am not a party to this action and reside in Westehester County.
State ol` l~lew Yorlt.

1 have been requested by Kavulich de Associatcs. P.C. attorney i'or the Plaintitit`, to make
art investigation to ascertain it` thc Dcf`endant(s) .loanna Santos is at the present
time in military service i`or the purpose ol' entry et`judgment.

On Octolacl‘ 20, 2010, l Denise l’~.»iiranda1 contacted tire i)el`cnse manpower Date Ccntel‘
concerning the Dct`endant ioanna Santos military status

l inputtcd tile Dcf`cndant's name and social security number, as provided by thc Dcl`cnda.nt ltimfherseii', into the Def'ense
tvtanpower Data Cenrer.

l_inder the Del`endant‘s social security number l received an affidavit from thc Del`ensc
Manpower Data Center stating that the said ldcl`cndant is not cur ‘ rtly in the military
service ofthe United Statcs and the Stnte of New Yorlc (Nat' l G ard).

   

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Piirsuant to the Service i\/tembers Civil Re.liot` Act

 

 

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APONTE JEMM[L Based on tlie'ini`orm'ation you have iumished, the DMI.`JC does not possess
any information indicating the individual statiis.

 

 

 

 

 

 

 

 

 

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Mary M. Snavely*Dit:on, IDirectoi'

Department of `Det`cnse - Manpower Data Center
1600 Wilson Blvd., Suite 400

Ariington, 'v'A 22?.09-2593

anpower Data Ccntcr, based
e is the current status ofthc individual as to ali branches
(Arnty, Navy, Mariiie Con)s, Air Force, NOAA, `Public Iriealth, and Coast

 

Tbe Det`cnse Manpower Da.ta Center (IJMDC) is an organization ot` the Department ot” Det`ense that
maintains the Det"ense Eiiroilinciit and Eligibiiity Reporting Systerri (DEERS) database which is the
official source ot` data on eligibility for military medical care and other eligibility systems

The DoD stroneg supports the enforcement of the Scrvice M`enibers Civil Relief Act (50 USC App. §§
501 et seq, as amendcd) (SCRA) (i`orn“ierly known as the Soldiers' and Sailors' Civil Relief Act of 1940).
.DMDC has issued hundreds of thousands ot"'does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced a small error rate. ln the event thc
individual referenced above, or atty farnin nien'iber, t`riond, or representative asserts in any manner that
the individual is on active duty, or is otherwise entitled to thc protections ot` the SCRA, you are strongly
encouraged to obtain further verification of the person‘s status by contacting that perscn's Servicc via the
"dcfeiiscliitk.niil" URL it_itp://www.defenseiink.rnil/i"aoi'pis!PC`-OS‘SLDR.hunl, li` you have evidence the
person is on active duty and you fail to obtain this additional Sei'viee verification, punitive provisions of
the SCRA may be invoked against you. See 50 USC App. §521(c).

If you obtain additional information about the person (e.g., an SSN, improved accuracy of DOB, a
middlo nomo), you can submit your request again at this Web site and we witt provide a new certificate
for that query.

Thjg response reflects active duty status including date the individual was last on active diity, it' it was

Wit.hi`n the preceding 367 days. For historical information, please contact the Service SCRA peints~ot?
contact

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service under a Cail to active service authorized by the Presidcnt or the Sccrctary oi`.l)et`ense t"or a period
ot moto titan 30 consecutive days under 32 USC § 502(1°) i`or purposes of responding to a national
emergency declared by lite President and supported by Federal funds All Activc Guard Rescrvc (AGR)
members must be assigned against an authorized mobilization position in the unit they support This
mcmch Navy TARS* M"“iu€ CO"PS ARs and C.oast Guard RPAs. Active l_`)tity status also applies to a
Unit`ormed Scrvice member who is an active duty commissioned officer oi` the U.S. Public lrlealth

Sct'yice or lite Natiol'ial Oceai'iic and Atrnospheric Administration (NDAA Comntissioncd Corps) 1`01` 3
period oi" more than 30 consecutive days.

 

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C`.'overage under the SCR.A. is broader in some cases and includes some categories of persons ott active
duty lor purposes ot` the SC`,`.R.A who would not be repoited as on Active Dut`Y linder this ce"‘ficatc'

lviany times orders are amended to extend the period ot" active duty, which would extend SCRA
protectionsl Persons seeking to rely on this website certification should check to make stire tlte orders on
which SCRA protections are based have not been amended to extend the inclusive dates ot` service.
l§itirthermore, some protections of the SCRA may extend to persons who have received orders to report
t"or active duty or to be inducted, bttt who have not actually begun active duty or actually reported for
induction 'I`lie Last Date on Activc Duty entry is important because a number of protections oi'SCRA
extend beyond the last dates ot` active duty.

'I`hose who would rely on this certificate are urged to seek qualified legal counsel to ensure that all rights
guaranteed to Servioc members under the SCRA are protected

WAR`N[`NG: This certificate was provided based on a name and SSN provided by the requestcr.
Providing an erroneous name or SS`N will cause an erroneous certificate to be providei::ll
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Fii'stfl\'liddle Begin Date Active Daty Status native Duty End Date Agcncy

 

Name

SANTOS fC)/~\NNA.

 

Based on the information you have furnished, the DMDC does not 005-less
any information indicating the individual status.

 

 

 

 

 

i_lpon searching the information data banks of the l`)cpartment of l,`)efcnsc Manpower Data Centcr, based
on the information that you providcd_. the above is the eun'ent status of the individual as to all branches
ofthe Umlormcd Services (Ariny, l\lavy, Marinc Corps, Air liorce_. NOAA, Public llealth_, and Coast

Guard).

want teams

Mary M, Snavely-Di)ton, lflirector

`Dcpartrnent of De-fense - lvlanpower Data Ccnter
`1600 Wilson Blvd., Suite 400

At'lington, VA 22209-`2593

 

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DMDC has issued hundreds of thousands of

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"defenselink.tnil" URL l_i_t_tp://Wnny.defenselin]<.mi]/fao/pisfPCUQSLDR.htn;tl. If you have evidence the

person is on active duty and you fail to obtain this additional Service veri fication, punitive provisions of

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This response
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emergency declared by the President a ld USC § 502(9 for lmqm$es mo wagonde to a national
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Those who would rely on this certificate are urged to seek qualified legal counsel to ensure that all rights
guaranteed to Service members under the SCRA are protected.

WARNING: This certificate was provided based on a name and SSN provided by the rr.-tc}ucsterA

l’roviding an erroneous naruc or SSN will cause an erroneous certificate to be provided
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New Yorii County Civi| Court
Civit Judgrrient
Plaintiff(s):

t den Ni.irnb r: CV-048231-10!NY
608-1314 West 18ch Street L|c n E

Judgrrrerit issued: On Default

 

"'E“ on Meiien or
Deferidarit(s): Kavulich di Associates P.C.
Jemrnii Apente; 313 Church Street. Suite 26. New Rochel|e. NY
deanna Santos 10801-
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Totat Damages $9,483.75 Teta| Costs dr Disbursements $160.00 Judgrnertt Teta| $9.1'543.?5

Ti'ie following named parties. addressed and identided as creditors below:

Plairitift' ereditor(s) and address

(1) 603-1514 We$t iBBth Stree't Llcl
508-610 Weist 1BElll‘t Streel, New York. NY 10040~

Sha|| recover of the following plrties. addresses and identified as debtors beiow:

 

Defendant debtor(s) and address

(1) Lten'rmil Aporite

38 Gleriwood Ave, Apt 1 D, Yonirers, NY 10701~2240
(2} Joanna Santoe

620 West 189tt“i Et. Apt 2 F, New Yorlt, NY 10040-4224

 

Judgment entered attire New Yort< County Civi| Ceurt, 111 Contre Street. New Yorlr, NY 10013, in the STATE OF NEW
YORK in the total amount 01$9,643.?5 on 1111'!/2010 at 10:54 AM.

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